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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


ROBERT HARRIS,                         :
                                       :
      Plaintiff,                       :
                                       :
      v.                               :        CASE NO. 3:19-CV-394 (VLB)
                                       :
SANTIAGO, et al.,                      :
                                       :
     Defendants.                       :

                                 ORDER OF DISMISSAL

      Plaintiff, Robert Harris, seeks to proceed in this case in forma pauperis. On March

18, 2019, the Court issued a Notice of Insufficiency informing Plaintiff of deficiencies in

his motion to proceed in forma pauperis that needed to be corrected before the Court

could consider his motion. Plaintiff was informed that if the deficiencies were not

corrected before April 8, 2019, this action would be dismissed.

      To date, Plaintiff has neither corrected the deficiencies nor sought an extension of

time within which to do so. Accordingly, the complaint is DISMISSED without prejudice.

Plaintiff may move to reopen this case if he submits the required truthful motion to

proceed in forma pauperis and demonstrates good cause for his failure to comply with

the Court’s order.

      SO ORDERED this 15th day of April 2019 at Hartford, Connecticut.



                                                   /s/                 ___
                                       Hon. Vanessa L. Bryant
                                       United States District Judge
